                 Case 15-19833-RAM   Doc 84   Filed 02/13/20   Page 1 of 6




         ORDERED in the Southern District of Florida on February 13, 2020.




                                                       Robert A. Mark, Judge
                                                       United States Bankruptcy Court
_____________________________________________________________________________
Case 15-19833-RAM   Doc 84   Filed 02/13/20   Page 2 of 6
Case 15-19833-RAM   Doc 84   Filed 02/13/20   Page 3 of 6
Case 15-19833-RAM   Doc 84   Filed 02/13/20   Page 4 of 6
Case 15-19833-RAM   Doc 84   Filed 02/13/20   Page 5 of 6
Case 15-19833-RAM   Doc 84   Filed 02/13/20   Page 6 of 6
